                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CARL CHATMAN,                                  )
                                               )
                      Plaintiff,               )
                                               )
              v.                               ) Case No. 14 C 2945
                                               )
CITY OF CHICAGO, et al.,                       ) Judge John Z. Lee
                                               )
                      Defendants.              ) Magistrate Judge Maria Valdez

                   OPS DEFENDANTS’ MOTION TO REVISE JUDGMENT

       Defendants, Lori Lightfoot, Tisa Morris, Millicent Willis, and Karen Wojtczak (jointly,

the “OPS Defendants”), pursuant to F.R.C.P. 54(b), for their motion to revise this Court’s

Memorandum Opinion and Order entered March 28, 2018 (Dkt. #538), state as follows:

       1.     On March 28, 2018, this Court entered a Memorandum Opinion and Order ruling

on various defendants’ motion for summary judgment. Included within the scope of the Court’s

ruling was the motion for summary judgment brought by the OPS Defendants. (See Dkt. ## 461,

462, 508). The OPS Defendants now bring this motion under Federal Rule of Civil Procedure

54(b) to request correction of this Court’s March 28, 2018 Memorandum Opinion and Order.

       2.     The OPS Defendants’ motion was titled as one for summary judgment. (Dkt.

#461). However, the Court mistakenly believed it was a motion for partial summary judgment,

twice noting the OPS Defendants did not move for summary judgment as to Count VIII of the

second amended complaint. (Mem. Op. & Order, at 2-3, fn. 3; 39, fn. 15). The basis for the

Court’s misapprehension was its apparent belief that Count VIII, a state law malicious

prosecution claim, was asserted against the OPS Defendants. However, count VIII was not

asserted against the OPS Defendants, and for that reason, they did not move for summary

judgment on that count.
       3.      Plaintiff’s second amended complaint asserted various §1983 claims against the

OPS Defendants, as well as two state law claims: intentional infliction of emotional distress

(IIED) in count IX, and state law conspiracy in count X. (See Dkt. #324). By its express

language, Count VIII, the state law malicious prosecution claim, was not asserted against

Defendant Kato, the OPS Defendants, or the official capacity defendants. (Id. at ¶215) (“In the

manner described above, the individual Defendants, excepting Defendant Kato, the O.P.S.

Defendants, and those sued in their official capacity . . .) (emphasis added). Following motion

practice on the pleadings, this Court dismissed the federal claims against the OPS Defendants,

while declining to dismiss the state law claims for IIED and conspiracy. (Dkt. #399). Pursuant

to that ruling, only the two state law claims in counts IX and X remained pending against the

OPS Defendants.

       4.      The OPS Defendants subsequently moved for summary judgment on the two

remaining state law claims. (Dkt. #461). In his response to the OPS Defendants’ motion for

summary judgment, plaintiff conceded he did not oppose the motion as to Defendants Lightfoot,

Morris, or Willis. (Combined Response, Dkt. #491, at 66, fn. 15; Mem. Op. & Order, at 39).

Plaintiff further acknowledged he did not oppose the motion as to the conspiracy claim against

Defendant Wojtczak. (Id.) Accordingly, the only claim in this case that remains pending against

any OPS Defendant is the IIED claim in count IX against Defendant Wojtczak. 1

       5.      As count VIII of the second amended complaint was not asserted against the OPS

Defendants, there are no remaining claims pending against Defendants Lightfoot, Morris, and

Willis. For that reason, judgment should be entered in favor of Defendants Lightfoot, Morris,

and Willis, and they should be dismissed with prejudice from this entire matter. To the extent

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  This Court’s denial of Defendant Wojtczak’s motion for summary judgment as to count IX will be the
subject of a separately filed motion to reconsider.

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necessary, Defendant Wojtczak requests that the record be corrected to reflect count VIII is not

directed against her.

       WHEREFORE, the OPS Defendants respectfully request that this Court’s Memorandum

Opinion and Order entered on March 28, 2018, be corrected to reflect that count VIII of

plaintiff’s second amended complaint is not directed against them; that judgment is entered in

favor of Defendants Lightfoot, Morris, and Willis in this action; that Defendants Lightfoot,

Morris, and Willis are dismissed with prejudice from this entire matter; and, for any further relief

this Court deems necessary and/or appropriate.

Date: April 11, 2018                                 Respectfully submitted,


                                                     s/ Paul A. Michalik
                                                     One of the Attorneys for Defendants,
                                                     Lori Lightfoot, Tisa Morris, Millicent
                                                     Willis, and Karen Wojtczak

Terrence M. Burns
Paul A. Michalik
Daniel M. Noland
Reiter Burns LLP
311 S. Wacker Dr., Suite 5200
Chicago, Illinois 60606
312.982.0090 (telephone)
312.429.0644 (facsimile)




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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 11, 2018, I electronically filed the foregoing OPS
Defendants’ Motion to Revise Judgment with the Clerk of the Court using the ECF system,
which sent electronic notification of the filing on the same day to:

Arthur Loevy                                   Virginia B. Bensinger
Jon Loevy                                      Robert T. Shannon
Russell Ainsworth                              James M. Lydon
Joel Feldman                                   Gretchen H. Sperry
Loevy & Loevy (Chicago Office)                 Hinshaw & Culbertson LLP
311 North Aberdeen St., 3rd Floor              222 N. LaSalle St., Suite 300
Chicago, IL 60607                              Chicago, IL 60601
(312) 243-5900                                 (312) 704-3000
jon@loevy.com                                  bbensinger@hinshawlaw.com
russell@loevy.com                              rshannon@hinshawlaw.com
joel@loevy.com                                 jlydon@hinshawlaw.com
                                               gsperry@hinshawlaw.com
and
                                               Jeremiah L. Connolly
Elizabeth Wang                                 Rachel D. Kiley
Loevy & Loevy                                  Andrew S. Chesnut
2060 Broadway, Suite 460                       Bollinger Connolly Krause LLC
Boulder, CO 80302                              500 W. Madison St., Suite 2430
(720) 328-5642                                 Chicago, IL 60661
elizabethw@loevy.com                           (312) 253-6200
                                               jconnolly@bollingertrials.com
                                               rkiley@bollingertrials.com
                                               achesnut@bollingertrials.com

Steven B. Borkan                               James Hanlon, Jr.
Timothy P. Scahill                             Cook County State's Attorney
Graham P. Miller                               500 Richard J. Daley Center
Misha Itchhaporia                              Chicago, IL 60602
Krista E. Stalf                                (312) 603-3369
Borkan & Scahill, Ltd.                         james.hanlon@cookcountyil.gov
20 S. Clark St., Suite 1700
Chicago, IL 60603
(312) 580-1030
sborkan@borkanscahill.com
tscahill@borkanscahill.com
gmiller@borkanscahill.com
mitchhaporia@borkanscahill.com
kstalf@borkanscahill.com

                                           s/ Paul A. Michalik


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